Case 1:19-cr-00490-RMB Document 47 Filed 08/19/19 Page 1 of 1
U.S. Department of Justice

  

United States Attorney
Southern District of New York

 

The Silvio J. Mollo Building
One Saint Andrew's Plaza
New York, New York 10007

August 19, 2019

VIA ECF

The Honorable Richard M. Berman
United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street

New York, New York 10007

Re: United States v. Jeffrey Epstein, 19 Cr. 490 (RMB)
Dear Judge Berman:

As the Court is aware, on the morning of August 10, 2019, Jeffrey Epstein died while in
custody at the Metropolitan Correctional Center. On August 16, 2019, and after conducting an
autopsy, the Office of the Chief Medical Examiner of the City of New York issued a statement
identifying the cause of death as hanging, and the manner of death as suicide. In light of the death
of the defendant prior to a conviction becoming final, the Government must request the Court
approve the attached proposed order of nolle prosequi.

Consistent with our practice throughout this case and our obligations under the Crime
Victims’ Rights Act, the Government has made efforts to contact all identified victims since
learning of the death of the defendant and will similarly notify all known victims of the attached
order, once entered. As this Office has previously stated publicly, it remains committed to doing
its utmost to stand up for the victims who have already come forward, as well as for the many
others who have yet to do so.

Respectfully submitted,

GEOFFREY S. BERMAN
United States Attorney

By:

 

Alison Moe / Aléx Rossmiller / Maurene Comey
Assistant United States Attorneys

Southern District of New York

Tel: (212) 637-2225 / 2415 / 2324

Cc: — All counsel of record (Via ECF)

 
Case 1:19-cr-00490-RMB Document 47-1 Filed 08/19/19 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

_ — ~” — ood ~ — =- =- = a ~ - =- - x
NOLLE PROSEQUI
UNITED STATES OF AMERICA
: 19 Cr. 490 (RMB)
-V.e- :
JEFFREY EPSTEIN, :
Defendant. :
= _ - =- - - _ - - - ~ _ =- - — x
1. The filing of this nolle prosequi will dispose of

this case with respect to JEFFREY EPSTEIN, the defendant.

2. On July 2, 2019, Indictment 19 Cr. 490 (the
*“Tndictment” ) was returned, charging JEFFREY EPSTEIN, the
defendant, with one count of conspiracy to commit sex trafficking
of minors, in violation of 18 U.S.C. § 371, and one count of sex
trafficking of minors, in violation of 18 U.S.C. § 1591.

3, On or about August 10, 2019, while the above-
captioned case was pending, but prior to any trial or other
disposition, JEFFREY EPSTEIN, the defendant, died.

4, Because JEFFREY EPSTEIN, the defendant, died while
this case was pending, and therefore before a final judgment was
issued, the Indictment must be dismissed under the rule of
abatement. See United States v. Wright, 160 F.3d 905, 908 (2d Cir.

1998).

 
Case 1:19-cr-00490-RMB Document 47-1 Filed 08/19/19 Page 2 of 2

5. Accordingly, I recommend that an order of nolle
prosequi be filed as to defendant JEFFREY EPSTEIN.

Dated: New York, New York
August 19, 2019

/

 

ALISON MOE / ANEX ROSSMILLER / MAURENE COMEY
Assistant United States Attorneys

Upon the foregoing recommendation, I hereby direct, with
leave of the Court, that an order of nolle prosequi be filed as to

defendant JEFFREY EPSTEIN.

Dated: New York, New York
August 19, 2019

LL. Ben

GEOFFREY. Xx, .. BERMAN
United States Attorney
Southern District of New York

S

 

SO ORDERED:

Dated: New York, New York
August , 2019

 

Hon. Richard M. Berman
United States District Judge
Southern District of New York
